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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
Southern Division

 

ROBERT ROTHMAN et al.
FILED UNDER SEAL
Plaintiffs,
— against — Case No. PJM-20-3290
DANIEL SNYDER
Defendant,

 

 

MEMORADUM OF REASONING AND AUTHORITIES IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTION FOR PROTECTIVE ORDERS

Plaintiffs Robert Rothman, Dwight C. Schar, and Frederick W. Smith (“Plaintiffs”)
respectfully submit this Memorandum of Reasoning and Authorities in Support of Plaintiffs’
Emergency Motion for Protective Orders (“Motion for Protective Orders”) and, in support thereof,
state as follows:

I. Background Facts

Plaintiffs are stockholders of Washington Football Inc. (“WFI” or the “Company”), which
owns the National Football League (“NFL”) team franchise in the Washington, D.C. area.!
Plaintiffs together own 40.499% of WFI, while Daniel Snyder (“Mr. Snyder”) — WFI’s principal
owner and Chief Executive Officer — owns 40.459% of WFI. Since 2003, each Plaintiff has owned
at least 10% of WFI.

WFI’s_ governing Second Amended Stockholders Agreement (the “Stockholders

Agreement”) expressly recognizes Plaintiffs’ rights to sell their WFI stock.

 

' Until recently, the Washington NFL football franchise team was named the Washington
Redskins. In July 2020, the franchise announced that the team temporarily will be called the
Washington Football Team, until a new team name and team logo are determined.

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The Complaint in this action concerns, in central part, a bona fide proposal, that Plaintiffs
received on October 16, 2020, to purchase their shares (the “Confidential Proposal”).
Declaration of Julia M. Beskin in Support of Plaintiffs’ Emergency Motion for a Temporary
Restraining Order and a Preliminary Injunction and Plaintiffs’ Emergency Motion for Protective
Orders (“Beskin Declaration’) at Exhibit 3 thereto (attached to the Memorandum in Support of
Plaintiffs’ Emergency Motion for a Temporary Restraining Order and a Preliminary Injunction

and incorporated hereto).

The letter transmitting the Confidential Proposal Se Ser NS:
ae Tiere aS | Id at page 2, § A. The instant action addresses actions by Mr.

Snyder which are preventing the Plaintiffs from moving forward to accept and effectuate the
Confidential Proposal.

The letter transmitting the Confidential Proposal unambiguously provides that (i) the
Confidential Proposal itself, (ii) the terms of the Confidential Proposal, and (iii) the negotiations
between the parties related to the Confidential Proposal (“Confidential Negotiations”) must be
kept strictly confidential and cannot be disclosed to third-parties. /d at page 4, 4 G. Specifically,
the Confidential Proposal includes a detailed confidentiality clause which states that:

Confidentiality. Without the other party's prior written consent, neither Purchasers
nor the Sellers will disclose to any third party, or authorize any of its representatives
(including, without limitation, its officers, directors, equityholders, employees,
partners, members, agents, financial advisors, consultants, attorneys, accountants
or other advisors (collectively, "Representatives")) to disclose, the terms of this
Proposal or the fact that any discussions or negotiations are taking place between
the Sellers, WFI and the Purchasers, except (i) the extent otherwise required by
applicable law, (ii) to any employee, officer, director, stockholder or derivative
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security holder of WFI and any attorneys or advisors of the foregoing, (iii) to the

extent necessary or appropriate in order to obtain approvals, or to provide notices ,

required under documents to which the Seller(s) is/are a party, or (iv) as necessary

or appropriate in order to respond to due diligence requests of the Purchasers or

their Representatives. The term "person" as used in this Proposal will be interpreted

broadly to include the media and any corporation, company, group, partnership or

other entity or individual.

Confidential Proposal at Section G; Id.

Section 7 of the Stockholders’ Agreement also provides that in the event one or more of
the Plaintiffs receives a purchase offer, the other stockholders shall have the right. exercisable
within fifteen (15) days of a written notice of intention to sell from the Plaintiff(s), to elect to
purchase the Plaintiff(s)’ shares proposed to be sold at a purchase price equal to (and on other

terms substantially comparable to) that specified in the notice of intention to sell.

After October 16, 2020, it became clear that Mr. Snyder was violating Section 7 of the

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provides that the period during which Plaintiffs and the prospective purchasers are to negotiate
exclusively with each other expires on November 25, 2020 — thirty (30) days after the date of the
Confidential Proposal. Mr. Snyder’s conduct thus threatens to irreparably deny Plaintiffs the time-
sensitive opportunity to sell their WFI stock in response to the Confidential Proposal.

Plaintiffs have a strong incentive to keep all pleadings in the instant matter — which directly

relate to the Confidential Proposal — completely confidential. Jd. Release of information contained

in the Confidential Proposal could jeopardize the entire proposal. Id.
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Plaintiffs have brought the above-captioned matter to address Mr. Snyder’s improper
actions in connection with the Confidential Proposal.

Il. Instant Public Disclosure of Sealed Pleadings on the Day of Filing

On November 13, 2020, at approximately 9:50 AM, Plaintiffs filed the above-captioned
matter in this Court.

As described supra and in Plaintiffs’ Memorandum in Support of its Motion to Seal, it is
of paramount importance to Plaintiffs that the content of the instant action be kept strictly
confidential. Jd.

Thus, along with the Complaint in this matter, at approximately 9:50 AM, Plaintiffs’ filed
a Motion to Seal Entire Court Record (“Motion to Seal’). The instant matter was then sealed until
such time that this Court ruled on Plaintiffs’ Motion to Seal.

At 1:30 PM that same day, Plaintiffs’ were provided with an executed summons for
Defendant Daniel Snyder from this Court.

Thirty-nine minutes after receiving the executed summons for Mr. Snyder, counsel for
Plaintiffs provided all pleadings filed by Plaintiffs along with the executed summons to counsel
for Defendant via e-mail requesting an agreement to accept service of the pleading on behalf of
Defendant. Counsel for Defendant has since acknowledged receipt of the pleadings on behalf of
Mr. Snyder.

Approximately three hours after Defendant was provided the aforementioned pleadings,
beginning around 5:02 PM, undersigned counsel for Plaintiffs began receiving inquiries from a
reporter from the New York Times acknowledging the reporter’s knowledge of the instant sealed
action and requesting comment from undersigned counsel as well as from Plaintiffs Rothman.

Schar and Smith. Declaration of Adam L. Van Grack, Esq. in Support of Plaintiffs’ Emergency
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Motion for a Temporary Restraining Order and a Preliminary Injunction and Plaintiffs’ Emergency
Motion for Protective Orders (“Van Grack Declaration’) at § 3-4 (attached at Exhibit A to this
Memorandum and incorporated herein). The email from the New York Times reporter thus made
clear that the source of the reporter’s information was someone other than Plaintiffs Rothman,
Schar, and Smith. Van Grack Declaration at § 4.

Less than two hours later, an article appeared in the New York Times quoting the sealed
Complaint in the instant matter and also further disclosing detailed information about the purchase
terms included in the confidential Letter of Intent that is a central subject of the sealed Complaint.
Van Grack Declaration at ¢ 5.

While Plaintiffs cannot state with certainty who leaked the sealed Complaint to the New
York Times, it axiomatic that Plaintiffs would strive to keep all information and pleadings related
to the instant action strictly confidential because they had explicitly instructed their attorneys to
file the Motion to Seal. Declaration of Robert Rothman in Support of Plaintiffs’ Emergency Motion

for a Temporary Restraining Order and a Preliminary Injunction and Plaintiffs’ Emergency
Motion for Protective Orders (“Rothman Declaration”) at § 13-14 (attached to the Memorandum
in Support of Plaintiffs’ Emergency Motion for a Temporary Restraining Order and a
Preliminary Injunction and incorporated hereto).

For these reasons, Plaintiffs filed the instant Motion for Protective Orders to ensure — by

Court Order — that no sealed, confidential pleadings (or information contained therein) are further

revealed or released to any third-party.
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Il. Applicable Law

Federal Rule of Civil Procedure 5.2 permits a court to “order that a filing be made under
seal without redaction.” Rule 5.2 also permits a court to “limit or prohibit a nonparty's remote
electronic access to a document filed with the court.”

Federal Rule of Civil Procedure 26 permits a court to “issue an order to protect a party or
person from annoyance, embarrassment, oppression, or undue burden or expense” and “may
forbid disclosure altogether” Cinetel Films, Inc. v. Doe, 853 F.Supp.2d 545, 82 Fed.R.Serv.3d 28
(D. Md. 2012).

This Court’s Local Rule 5.11 provides that: “Any motion seeking the sealing of
pleadings, motions, exhibits, or other documents to be filed in the Court record shall include (a)
proposed reasons supported by specific factual representations to justify the sealing and (b) an
explanation why alternatives to sealing would not provide sufficient protection.”

Local Rule 5.11 “endeavors to protect the common law right to inspect and copy judicial
records and documents, Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 597, 98 S.Ct. 1306, 55
L.Ed.2d 570 (1978), while recognizing that competing interests sometimes outweigh the public's
right of access, In re Knight Publ'g Co., 743 F.2d 231, 235 (4th Cir.1984).” Butler v. DirectSAT
USA, LLC, 876 F. Supp. 2d 560, 576 (D. Md. 2012).

This Court has specifically granted parties’ motions to seal court records when the
information contains confidential business-related information. See, e.g., Jarvis v. FedEx Office
& Print Servs., Inc., No. DKC-08-1694, 2011 WL 826796, at *10 (D. Md. Mar. 7, 2011); Butler

v. DirectSAT USA, LLC, 876 F. Supp. 2d 560, 576 (D. Md. 2012).
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Il. Discussion

A. Proposed Reasons Supported by Specific Factual Representations Which Justify
Sealing

The entire substance of the dispute between the parties in the above-captioned matter
addresses the parties’ actions related to the Confidential Proposal that was provided by a third-
party to the Plaintiffs. Beskin Declaration at Exhibit 3 thereto. The Confidential Proposal
addresses the sale of a significant percentage of the entity which owns the Washington DC
Metropolitan Region’s NFL Franchise: The Washington Football Team. The Confidential
Proposal itself includes a detailed confidentiality clause which states that:

Confidentiality. Without the other party's prior written consent, neither Purchasers
nor the Sellers will disclose to any third party, or authorize any of its representatives
(including, without limitation, its officers, directors, equityholders, employees,
partners, members, agents, financial advisors, consultants, attorneys, accountants
or other advisors (collectively, "Representatives")) to disclose, the terms of this
Proposal or the fact that any discussions or negotiations are taking place between
the Sellers, WFI and the Purchasers, except (i) the extent otherwise required by
applicable law, (ii) to any employee, officer, director, stockholder or derivative
security holder of WFI and any attorneys or advisors of the foregoing, (iii) to the
extent necessary or appropriate in order to obtain approvals, or to provide notices ,
required under documents to which the Seller(s) is/are a party, or (iv) as necessary
or appropriate in order to respond to due diligence requests of the Purchasers or
their Representatives. The term "person" as used in this Proposal will be interpreted
broadly to include the media and any corporation, company, group, partnership or
other entity or individual.

Confidential Proposal at Section G. Jd at page 4, § G

Making the pleadings and records of the above-captioned matter public would disclose
the existence of the Confidential Proposal and the Confidential Negotiations — jeopardizing the
entire potential deal. Disclosing the existence of the Confidential Proposal and/or Confidential
Negotiations would breach the Confidential Proposal and risk having the entire Confidential
Proposal cancelled. The Confidential Proposal should not be placed at risk of being cancelled as

a result of the disclosure of information that Plaintiffs necessarily need to present to the Court to

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address the actions of Mr. Snyder. Succinctly, if third parties to the Confidential Proposal (who
are able to obtain sealed information and pleadings in this action) are also able to disseminate
that information to other third-parties, the protections afforded by the sealing of the Court
records are effectively eviscerated. Specifically, as required by the Confidential Proposal. the
fact that the parties are engaged in the Confidential Negotiations should not be made public
(whether through the Court docket or through third-party disclosure) — to preserve the parties’
contracted rights and ability to complete the Confidential Proposal. For these reasons, this Court
should grant Plaintiffs’ Motion for Protective Orders.

B. Alternatives to Sealing Would Not Provide Sufficient Protection

The entire subject matter of the dispute between the parties in the above-captioned
matter relates to and directly addresses the Confidential Proposal — the terms and existence of
which is confidential by the agreement between Plaintiffs and the third-party that made the
Confidential Proposal. Unfortunately, there is no method for this Court to address the parties’
dispute (absent the protections of a sealed record and protective order) without risking the entire
Confidential Proposal — all of which requires confidentiality especially as the Confidential
Proposal itself contains significant private business information. As such, there do not exist any
alternatives to preventing third-party disclosure and sealing the court records in the above-
captioned matter if the Plaintiffs are to seek a resolution to their dispute with Defendant before
this Court. For these reasons, this Court should grant Plaintiffs’ Motion for Protective Orders.

IV. Requested Relief

Plaintiffs respectfully request that this Court, in addition to sealing the entire court record

of the above-captioned matter as requested in Plaintiffs’ Motion to Seal, order that all parties to

this matter shall not disclose to any third party any fact or document related to the above-captioned
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matter.

Dated: November 16, 2020
Bethesda, MD

Respectfully submitted,

/s/

 

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CERTIFICATE OF SERVICE
I hereby certify that on November 16, 2020, I electronically filed the foregoing
Memorandum of Reasoning and Authorities in Support of Plaintiffs’ Emergency Motion for
Protective Orders (“Memo”) via e-mail to christine.coogle@mdd.uscourts.gov and
mdddb_civil_sealed@uscourts.gov, a copy of the instant Memo was provided to Andrew Levander
via electronic mail at andrew.levander@dechert.com whom I understand is Counsel for Defendant
Snyder. Pursuant to the Court’s procedures, I intend to cause paper copies of this Memo to be

deposited (under seal) in the Court’s drop box before 4:00 pm.

/s/

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